65 F.3d 174w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Stephen L. COX, Plaintiff-Appellant,v.John A. NASCHE, individually, and FlightsafetyInternational, Inc., a New York corporation,Defendants-Appellees.
    No. 94-35308.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Aug. 11, 1995.Decided Aug. 23, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    